356 F.2d 791
    123 U.S.App.D.C. 38
    Leroy BARNETT, Appellant,v.UNITED STATES of America, Appellee.Gary MORRIS, Appellant,v.UNITED STATES of America, Appellee.
    Nos. 19445, 19446.
    United States Court of Appeals District of Columbia Circuit.
    Argued Nov. 15, 1965.Decided Dec. 13, 1965, Petition for Rehearing En Banc in No.19,445 DeniedMarch 24, 1966.
    
      Mr. Walter Freedman, Washington, D.C.  (appointed by this court) for appellants.
      Miss Carol Garfiel, Asst. U.S. Atty., with whom Mr. John C. Conliff, Jr., U.S. Atty., at the time the brief was filed, and Mr. Frank Q. Nebeker, Asst. U.S. Atty., were on the brief, for appellee.  Messrs. David G. Bress, U.S. Atty., and John A. Terry, Asst. U.S. Atty., also entered appearances for appellee.
      Before BAZELON, Chief Judge, PRETTYMAN, Senior Circuit Judge, and FAHY, Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellants seek reversal of their convictions for robbery on the sole ground that counsel was not present in the arraignment proceeding at which they pleaded 'not guilty.'  We have recently rejected this contention in Anderson v. United States, 122 U.S.App.D.C.  ,  352 F.2d 945, decided Oct. 28, 1965; McGill &amp; Hinton v. United States, 121 U.S.App.D.C. 179, 348 F.2d 791 (1965).  And the presence of counsel for the indigent at arraignment is now assured by the Plan for Furnishing Representation for Indigent Defendants in Criminal and Quasi-Criminal Cases, pursuant to the Criminal Justice Act of 1964, 18 U.S.C. 3006A, which was not in effect at the time of appellants' arraignment:
    
    
      2
      Arraignment Without Counsel.
    
    
      3
      If the defendant appears for arraignment without counsel, the Judge will refer the defendant's name to the Coordinator for a preliminary determination of financial ability to obtain an adequate defense and for submission of attorneys' names for appointment.
    
    
      4
      Affirmed.
    
    